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 8
                        UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF WASHINGTON
10

11   STATE OF WASHINGTON, et al.,                 No. 1:23-cv-03026
12
                               Plaintiffs,        MOTION TO EXPEDITE
13
            v.                                    03/07/23
14
                                                  WITHOUT ORAL ARGUMENT
15   FOOD AND DRUG
     ADMINISTRATION, et al.,
16

17                             Defendants.
18

19         Defendants move for expedited consideration of their Motion for Extension
20
     of Time, ECF No. 16. Plaintiffs oppose the underlying request for additional time,
21
     but do not oppose this motion for expedited consideration of Defendants’ motion.
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23         An expedited ruling on Defendants’ Motion for Extension of Time is
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     necessary because Defendants seek an extension of their March 10, 2023, deadline
25
     to respond to Plaintiffs’ Motion for a Preliminary Injunction. Without expedited
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27                                            1
     MOTION TO EXPEDITE
 1 consideration, Defendants’ Motion for Extension of Time may not be set for

 2
     consideration until March 30, 2023, well after the deadline Defendants are asking
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 4 to extend has passed.

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     MOTION TO EXPEDITE
 1   February 28, 2023    HILARY K. PERKINS
 2                        Assistant Director

 3                        /s/ Noah T. Katzen
 4                        NOAH T. KATZEN
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                          Counsel for Defendants
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27                        3
     MOTION TO EXPEDITE
 1                               CERTIFICATE OF SERVICE
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 3       I hereby certify that, on February 28, 2023, I electronically filed the foregoing
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     with the Clerk of the Court using the CM/ECF system, which will send notification
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 6 of such filing to all counsel of record.

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 8                                                 /s/ Noah T. Katzen
 9                                                 NOAH T. KATZEN

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     MOTION TO EXPEDITE
